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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
OUR WICKED LADY LLC (d/b/a “Our Wicked :                  21cv0165(DLC)
Lady”), et al.,                        :
                                       :                       ORDER
                         Plaintiffs,   :
                                       :
                -v-                    :
                                       :
ANDREW CUOMO, in his official capacity :
as Governor of the State of New York; :
STATE of NEW YORK; BILL de BLASIO, in :
his official capacity as Mayor of New :
York City; and THE CITY of NEW YORK,   :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

     The plaintiffs’ reply in support of their motion for a

preliminary injunction was due February 26, 2021, but not filed.

As set forth in the telephone conference of March 2, 2021, it is

hereby

     ORDERED that the plaintiffs shall, to the extent they take

issue with any statement of law or proposition of fact in the

defendants’ opposition to their motion, file a reply in support

of their motion for a preliminary injunction by Friday, March 5,

2021.    The reply shall also identify areas of disagreement with

the State defendants’ expert, Emily Lutterloh, M.D., MPH, which

the plaintiffs contend require cross examination of the expert.
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     IT IS FURTHER ORDERED that, the parties having consented to

a virtual hearing, to the extent required any hearing will be

held on March 18, 2021 at 3:00pm via the Microsoft Teams

videoconference platform, if that platform is reasonably

available.   To access the conference, paste the following link

into your browser: https://teams.microsoft.com/l/meetup-

join/19%3ameeting_NjVlOWMzY2QtYzc0NS00Y2Y2LWE3MzMtZDUyZGU4ZDFhMj

kz%40thread.v2/0?context=%7b%22Tid%22%3a%221d66f037-8266-4d1c-

919c-67c6543d3542%22%2c%22Oid%22%3a%2220b3b4ec-1ef6-4484-88f4-

2126fecd52fa%22%7d.

     To use this link, you may need to download software to use

the platform’s videoconferencing features.1       Participants are

directed to test their videoconference setup in advance of the

conference -- including their ability to access the link above.

Users who are unable to download the Microsoft Teams application

may access the meeting through an internet browser, although

downloading the Teams application is highly recommended.2

Participants should also ensure that their webcam, microphone,

and headset or speakers are all properly configured to work with

Microsoft Teams.   For general guidelines for participation in


1 See Microsoft, Download Microsoft Teams (last visited Dec. 7,
2020), https://www.microsoft.com/en-us/microsoft-365/microsoft-
teams/download-app.
2 Please note that participants who access the Teams meeting

using an internet browser may only be able to view one
participant at a time.


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remote conferences, visit https://nysd.uscourts.gov/covid-19-

coronavirus.

     IT IS FURTHER ORDERED that members of the press, public, or

counsel who are unable to successfully access Microsoft Teams

may access the conference’s audio using the following

credentials:

     Call-in number:          +1 917-933-2166

     Conference ID:           841 518 153#



Dated:       New York, New York
             March 2, 2021




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